
OVERTON, Justice,
dissenting.
I dissent. I find clear conflict with Gulf &amp; Eastern Development Corp. v. City of Fort Lauderdale, 354 So.2d 57 (Fla.1978), with regard to the due process notice requirements of new zoning. Additionally, in my view, this case is not controlled, on the merits, by Graham v. Estuary Properties, Inc., 399 So.2d 1374 (Fla.1981); Graham is distinguishable on the facts. I believe that the record in this cause clearly establishes that the action of the city was arbitrary, abusive of the zoning process, and intentionally confiscatory. I would accept jurisdiction and reverse.
ADKINS, J., concurs.
